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Attorneys for Plaintiff
UNITED STATES OF AMERICA

                   IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,               )   CR. NO. 17-00101 LEK
                                        )
          Plaintiff,                    )   UNITED STATES’S MOTION TO
                                        )   EXTEND THE DEADLINE TO
    vs.                                 )   RESPOND TO DEFENDANT’S
                                        )   MOTION TO RECONSIDER
ANTHONY T. WILLIAMS,                    )
                                        )
          Defendant.                    )
                                        )

           UNITED STATES’S MOTION TO EXTEND THE
 DEADLINE TO RESPOND TO DEFENDANT’S MOTION TO RECONSIDER

      Pursuant to Rule 12(c)(2) of the Federal Rules of Criminal Procedure, the

government respectfully submits this motion to extend the deadline to respond to
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Defendant Anthony T. Williams’s Motion to Reconsider 11/26/18 EO Denying:

Defendant’s Motion to Sever Trial (Docket #365); Defendant’s Motion for Order

of Contempt Against the Illinois Anti-Predatory Lending Database (Docket #349);

Defendant’s Motion for Order of Contempt Against the Orange County (CA)

District Attorney’s Office (Docket #357); Defendant’s Motion for Order of

Contempt Against the Broward County (FL) Sheriff’s Office (Docket #361)”

(Motion to Reconsider). The defendant filed his motion on December 10, 2018.

ECF No. 395. The Court has set the deadline for the government’s response on

December 26, 2018, with a reply due from the defendant on January 14, 2019.

ECF No. 396. The government requests an extension of 16 days, to and including

January 11, 2019, to respond to the defendant’s motion. This is the government’s

first request for an extension of this deadline. The defendant is representing

himself pro se; counsel for the government has not met-and-conferred with the

defendant regarding this request.

      Good cause supports this request for a continuance of the response deadline

beyond December 26, 2018. Both counsel for the government will be out of the

office for the holidays for a substantial time during the period available for

response to the defendant’s motion. The undersigned counsel for the Government,

Assistant United States Attorney (AUSA) Gregg Yates will be out of the office

from December 18, 2018 through January 1, 2019, and returning to the office on


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January 2, 2019. AUSA Ronald Johnson will also be out of the office for the

holidays on December 19, 2018, and then from December 21, 2018 through

January 4, 2019. In addition, AUSA Johnson has assumed additional duties in

connection with his role as Chief of the Violent Crime and Drug Section of the

U.S. Attorney’s Office.

      The defendant’s Motion to Reconsider will require additional time for

response. The defendant challenges the denial of his motions upon the ground that

he was denied a hearing. The defendant suggests that his absence from the

scheduled hearing on his motions on November 26, 2018 was the result of a

misunderstanding of the U.S. Marshals tasked with transporting him to the hearing.

Declaration of Anthony Williams (Williams Declaration) in Support of

Defendant’s Motion to Reconsider at 1, ECF No. 395-2. Defendant claims that a

Deputy United States Marshal (DUSM) erroneously attempted to pick him up from

the Federal Detention Center (FDC) at 8:30 a.m., and that he communicated that

his hearing was actually scheduled for 2:00 p.m., and that the DUSM should

therefore have returned in the afternoon. Id. A DUSM then failed to pick him up

in the afternoon prior to his hearing. The defendant argues that because no one

came to pick him up in the afternoon he should not be held responsible for failing

to appear at his 2:00 p.m. hearing. Williams Decl. 1-2.




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      The defendant’s factual claims are refutable. The DUSM and an officer at

FDC can provide affidavits to this Court regarding their interactions with the

defendant on November 26, 2018. A DUSM can also explain that the U.S.

Marshals Service practice with respect to transport of FDC detainees for court

appearances is to make a single trip to FDC to pick up all detainees who are due to

appear before the court prior to the time of the earliest hearing of the day scheduled

for a detainee. The Marshal’s Service does not make specific trips to transport

detainees for particular hearings.

      This testimony is particularly relevant and material to the defendant’s

motion. The defendant has been transported to the Court for hearings no fewer

than eight times in this matter, ECF No. 30, 35, 184, 214, 235, 295, 354, and 385.

Prior to this incident, the defendant twice refused transportation by the U.S.

Marshals Service and declined to appear at a scheduled hearing. ECF No. 7, 194.

The defendant’s November 26, 2018 nonappearance was his third refusal, and it

was no mistake: the defendant is well-familiar with the U.S. Marshals Service’s

practice with respect to transportation of FDC detainees to hearings.

      In light of the foregoing, the government respectfully requests an extension

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of time of 16 days, to and including January 11, 2019, to respond to the

Defendant’s Motion to Reconsider.

            DATED: December 17, 2018, at Honolulu, Hawaii.

                                              KENJI M. PRICE
                                              United States Attorney
                                              District of Hawaii


                                              By /s/ Gregg Paris Yates
                                                GREGG PARIS YATES
                                                Assistant U.S. Attorney




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                          CERTIFICATE OF SERVICE

             I hereby certify that, on the dates and by the methods of service noted

below, a true and correct copy of the foregoing was served on the following by the

method indicated on the date of filing:

Served Electronically through CM/ECF:

      Lars Isaacson, Esq.
      hawaii.defender@earthlink.net

      Attorney for Defendant
      ANTHONY T. WILLIAMS

Served by First Class Mail:

      Anthony T. Williams
      Registered No. 05963-122
      Inmate Mail
      FDC Honolulu
      PO Box 30080
      Honolulu, HI 96820

             DATED: December 17, 2018, at Honolulu, Hawaii.


                                             /s/ Melena Malunao
                                             U.S. Attorney’s Office
                                             District of Hawaii
